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AO 245B         (Rev. 09/11) Judgment in a Criminal Case
                Sheet I




                                             UNITED STATES DISTRICT COURT
                                                           Southern District of New York

                UNITED STATES OF AMERICA                                               JUDGMENT IN A CRIMINAL CASE
                                     v.
                              Cetin Aksu                                               Case Number: 11 cr093-03 (JSR)

                                                                                       USM Number: 65975-054

                                                                                           Lawrence Gerzog, Esq.
                                                                                       Defendant's Attorney
THE DEFENDANT:
¢pleaded guilty to count(s)               1,2,3 & 4

0   pleaded nolo contendere to count(s)
    which was accepted by the court.

0   was found guilty on count(s)
    after a pica of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                     Na tu re of Offense                                                        Offense Ended             Count

21 U.S.C.963                         Conspiracy to Import Heroin into U.S.A.                                    7/31/2011

18 U .S.C.23398                      Consp. to Provide Material Support to Terrorist Group                      7/31/2011                 2

18   u.s.c. 23329                    Consp. Acquire, Transfer & Possess Anti-Aircraft Missiles                  7/31/2011                 3

       The defendant is sentenced as provided in pages 2 through
the Sentencing Reform Act of 1984.
                                                                                      r;      of this judgment. The sentence is imposed pursuant to


0   The defendant has been found not guilty on eount(s)

0   Count(s)                                               D   lS   0   are   dismissed on the motion of the U nitcd States.
¢Underlying indictments                                    D   is   aJ arc    dismissed on the motion of the United States.
0   Motion(s)                                              D   IS   0   are   dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.



                                                                               9/5/2014
                                                                              Date of Imposition of Judgment




                                                                               Hon.Hed S. Rakoff,                          U.S.D.J.

                                                                              Nm"°" '•";]'/,            {'I
                                                                              D<1tc                  "/':
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                                         ADDITIONAL COUNTS OF CONVICTION

Title & Section                Nature of Offense                    Offense Ended            Count

18 U.S.C. 1623                 False Declaration Before a Court     4/30/2012                4
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AO 24513         (Rev. 091 I l) Judgment in Criminal Case
                 Sheet 2 -- Imprisonment

                                                                                                                Judgment -   Page     of
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                                                                       IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:

     On Counts 1,2,3, & 4: THIRTY SIX (36) MONTHS, to run concurrently




       0     The court makes the following recommendations to the Bureau of Prisons:




       vi"   The defendant is remanded to the custody of the United States Marshal.


       0     The defendant shall surrender to the United States Marshal for this district:

             D     at                                       0   a.m.     D   p.m.     on

             0     as notified by the United States Marshal.


       0     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

             0     before 2 p.m. on

             0     as notified by the United States Marshal.

             0     as notified by the Probation or Pretrial Services Office.



                                                                             RETURN

 I have executed this judgment as follows:




             Defendant delivered on                                                                to

 a                                                              with a certified copy of this judgment.




                                                                                                             UNITED STATES MARSHAL



                                                                                    By
                                                                                                          DEPUTY UNITED STATES MARSllAL
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AO 2451l   (Rcv. 09/! I) Judgment in a Criminal Casc
           Shed 5 - Criminal Monetary Penalties

                                                                                                                     Judgment -   Page             of
 DEFENDANT: Cetin Aksu
 CASE NUMBER: 11cr093-03 (JSR)
                                                 CRIMINAL MONETARY PENALTIES

      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment                                                    Fine                                    Restitution
 TOTALS            $ 400.00                                                      $                                       $



 D    The determination of restitution is deferred until                    . An         Amended Judgment in a Criminal Case             !AO 245C! will be entered
      after such determination.

 D    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U .S.C. § 3664(i), all non federal victims must be paid
      before the United States is paid.

 Name of Payee                                  Total Loss*                                    Restitution Ordered                       Priority or Percentage




TOTALS                                $                                                   $



 D     Restitution amount ordered pursuant to plea agreement $


 D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U .S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U .S.C. § 36 l 2(g).

 D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D   the interest requirement is waived for the             D       fine       0      restitution.

       0   the interest requirement for the            D   fine       0     restitution is modified as follows:



* Findings for the total amount of losses are required under Chapters l 09A, 110, 11 OA, and l 13A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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AO 245B      (Rev. 091 I I) Judgment in a Criminal Case
             Sheet 6 -   Schedule of Payments

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                                                              SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     r;/   Lump sum payment of$               400.00              due immediately, balance due


             D      not later than                                      , or
             D      in accordance            D     C,     D    D,   D     E, or    D    F below; or

 B     D     Payment to begin immediately (may be combined with                   DC,        OD, or     D   F below); or

 C     D     Payment in equal                       (e.g., weekly, monthly, quarterly) installments of S                             over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

 D     D     Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

 E     D     Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     D     Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D     Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




 D     The defendant shall pay the cost of prosecution.

 D     The defendant shall pay the following court cost(s):

 '&t   The defendant shall forfeit the defendant's interest in the following property to the United States:

       $1, 750,000.oo



Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
